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 Brian K. Jackson (15296)
 Brian K. Jackson, LLC
 503 W. 2600 S. Suite 200
 Bountiful, Utah 84010
 Phone: (801) 441-8922
 brianj@bjacksonlaw.com
 Attorney for Plaintiffs


                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


 Adam Fuller; Steve Sprague; Gabriella                    PLAINTIFFS OPPOSITION TO
 Gourdin; Charlotte Jones; Mikaeli Lechuga;              DEFENDANT’S MOTION TO STAY
 Aimee Nyguen; Steve Rosales; Riley                          EXPERT DISCOVERY
 Westerguard; Ted Winkworth; Brogan Knebeo;
                                                             Civil No.: 2:21-cv-00539-DAO
 Patrick Mac.
      Plaintiffs.                                       The Honorable Howard C. Nielsen, Jr.
 v.
                                                      The Honorable Magistrate Dustin B. Pead
 Salt Lake City.
      Defendant,


         Comes now, Plaintiffs, in the United States Federal District Court, State of Utah, and

 respectfully request the court to deny Defendant’s motion to stay expert discovery.

         The City files this motion after Plaintiff’s had filed their designation of expert witnesses.

 As already noted in the response to the City’s motion to strike, these are non-retained expert

 witnesses that treated Plaintiffs and the City has already had the medical documents of these

 providers for months. The parties have already engaged in extensive discovery throughout this

 past year. The City filed a 55 page dispositive motion. It would take time for dispositive motions

 to be resolved. If dispositive motions don’t resolve the claims, then at an undetermined date in

 the near future, the parties would have to again engage in expert discovery further prejudicing

 Plaintffs.
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        The events that took place here occurred two years ago and to delay testimony of

 witnesses further for a undetermined time would be severely prejudicial to Plaintiff’s and the

 claims and their ability to effectively resolve these claims in a timely manner. Staying the

 discovery process because one party decided to file a dispositive motion does not warrant an

 extreme circumstance. In normal circumstances, parties engage in the discovery process and

 dispositive motions are due after the discovery process. There is nothing here out of the norm in

 this case or extreme that would warrant a deviation from the norm and Defendant’s request

 should be denied.

                                       Dated and stipulated this 2nd day of May, 2023

                                               /s/ Brian K. Jackson
                                               Brian K. Jackson
                                               Brian K. Jackson, LLC
                                               Attorney for Plaintiffs
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                                     Certificate of Service

         I certify under penalties of perjury subject to the Utah State Code that I mailed a true and
 correct copy of the Motion for Extension of time via electronic filing and e-mail with the CMF
 e-filing system which sent notice to all Defendants who have made an appearance on this matter
 on May 2nd, 2023.




                                                               /s/ Brian Jackson______
                                                               Brian K. Jackson
                                                               Brian K. Jackson, LLC
                                                               Attorney from Plaintiffs
